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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No.        LACV 21-00843-VAP-MRWx                                Date: February 10, 2021
  Title       Levi Cobos v. Robinhood Financial LLC, et al.




  Present: The Honorable: VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE


                    Christine Chung                                      Myra Ponce
                     Deputy Clerk                                       Court Reporter

          Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
               Joseph M. Kar - VTC                                  Naeun Rim -VTC
              Gerald L. Kroll - VTC                               Antony L. Ryan -VTC
                                                                  Kevin J. Orsini - VTC


  Proceedings: Ex Parte Application for Temporary Restraining Order And/Or OSC
               Re: Preliminary Injunction filed by Plaintff Levi Cobos [9]
               (Video-Teleconference)

          The Court issues its tentative ruling prior to the hearing.

          Case called, and counsel make their appearance. The Court invites counsel to present
  their oral arguments. Court and counsel confer as stated on the record. The Court takes the
  mater under submission. An Order will issue.




                                                                                           0:36 min
                                                                    Initials of Preparer   CCH




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